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                                    Wheat Ridge Police
                                       Department
                                           Incident: 201710538

 Incident details:

  Incident Type:
  Incident time:                 09/26/2017 11 :00 -

  Reported time:                 10/16/2017 14.31

  Incident location:             3900 KIPLING ST, WHEAT RIDGE, Colorado USA 80033 (EVERITT MIDDLE SCHOOL)
                                 (Beat: WHEAT RIDG)

  Incident status:
  Reporting officer:             #03-3 CUNEY, K.

  Investigator:
  Summary:                       18-8-104 OBSTRUCTION OF A POLICE OFFICER (M) (CALL CODE: HARASS)// Offenses:
                                 18-8-104 OBSTRUCT OFFICER (OPEN)


 Involved Persons:

  Name:                CARLIN, TIM                                       Gender:     Male

  Classification:      Suspect                                           DOB:        02/10/1978

  DL:
  Address:             3900 KIPLING ST, Bid: ASST PRINCIPAL, WHEAT RIDGE, CO USA 80033 (EVERITT MIDDLE
                       SCHOOL) (Beat: WHEAT RIDG)




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 Reports:

   General report:

    Author:            #03-3 CUNEY, K.                                        Report time:        10/16/2017 14:32

    Narrative:

    Text:
      On 092617, I received an email from Detective Johnson requesting that I obtain written statements from two
    suspects regarding case number 17-4801 from the vice principal of Everett Middle School, located at 3900 Kipling St.
      The vice principal at Everett Middle School, Tim Carlin, had done his own investigation of an unlawful sexual
    contact case that was reported to the police by the parent of the victim on 051517. VVhen I was notified of the
    incident on 051617, by an email I received from the initial reporting officer, I immediately contacted the school about
    the incident. I spoke with Carlin who advised that he had already "investigated" the incident and he provided me with
    a written statement from the victim and a witness. He then told me he wasn't done with the investigation and at that
    point I told him it was now a police investigation and that he needed to turn it over to me and stop speaking with the
    students involved. His concerns were that he wanted to pursue school consequences for the suspects and he
    needed to finish his investigation and speak with the male suspects. I advised again that it was a police investigation
    and to discontinue his investigation. I advised him that school discipline was his concern; however, it should not
    interfere with the police investigation. He became argumentative and I told him that the investigation is criminal and
    that he needs to turn over everything he had up until the point I took over. He provided me with a written statement
    from the victim and one from a witness. Carlin advised at that time that was all he had.
       On 051617, I briefly spoke with the victim at the request Sgt. Lima to get some details of the crime. I then contacted
     Sgt. Wilkinson and explained the situation of the case. Sgt. Wilkinson advised that Detective Johnson would be
    taking the investigation.
       This incident occurred near the end of the school year. School was out on 052017 and the incident was reported
    only a few days before that. I contacted school administration to verify that a safety plan had been put into place and
     I was advised that the plan was to have the victim spend the rest of the week in a counselor's office, doing her school
    work from there.
       Detective Johnson contacted me about the case during the summer of 2017 requesting written statements from the
     suspects and asked that I contact Tim Carlin to see if he had statements. Up to this point I was not aware that there
    were statements, including written statements from suspects as Carlin had told me he had given all of the information
     in May. I advised Detective Johnson that I did not have contact with the staff at school during the summer but I
     would try to get some information for her when they returned to school in August.
       On 092617, Detective Johnson asked me if the written statements were available. I contacted Carlin and asked him
     if he had information or statements that had not already been provided to the police. He stated that it was "a long
     time ago" and said that he could get the statements to me but said "I'm not sure I should give them to you". He then
     said that I had told him that his investigation was his. I told him that the school discipline was his issue but the
     criminal investigation and all evidence pertaining to it was a police issue. He stated that he had concerns about
     the "privacy" of the students. I advised that the statements were evidence in the case and that the detective needed
     the statements. Carlin was argumentative, stating that he wasn't going to give them to me because that was part of
      his investigation. I told him that the statements were police evidence and he needed to surrender them. He continued
     to be argumentative stating that he wanted to contact the "district" and find out if he has to give them to me. I
      repeated that the detective needed the statements. He said "I guess if the detective is requesting them but I don't
      know". He then stated that he wanted the detective's phone number and he would call her. I told him that I would let
      Detective Johnson know about the conversation. I was never provided the statements from Carlin.
       I then told Detective Johnson that Carlin was refusing to provide the statements to me and that he wanted to contact
      the district before doing so. I also advised Sgt. Wilkinson of the situation at the beginning of my shift on 092717.
       Submitted by: K. Cuney 033




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   Supplemental:

   Author:            #13-1 JOHNSON, R.             Report time:    10/27/201715:18

    Entered by:       LEGACY CONVERSION             Entered time:
    Narrative:

    Attachment:
    Timeline

     Text:
     See attached.

     R. Johnson 131




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    05/15/2017:
    -Prior to going to the police department,6 called the school and left a voicemail for Vice Principal
    (VP) Carlin. VP Carlin returned her call that day and they spoke around 1520 hours. They arrange to
    come to the school the next morning (05/16/2017).
    (me(waix                                                              (of. s.
                            into the police department for the inital report      Davis)@hoy        ten
    encouraged them to also go to the police because the school may not be able to do anything. (1859
    hours)
    -Davis notified Det. Sgt Lima and emailed Officer Cuney.

    05/16/2017:
   (anwent to the school to talk to vP cariin regarding a "sexual assault" (when school
    opened at 0715). VP Carlin explained the school would have to work with police.
    (s interviewed by vice Principal cariin. It was more, "Just fr out an incident report". doesn't
    remember Mr. Carlin asking questions. Other than she thinks he may have asked if all of it happened on
    school grounds.

    Also 05/16/2017:
    -Officer Cuney received an email from Ofc. Davis about the case and then spoke to Sgt. Lima about the
    report. Officer Cuney is asked to get an initial statement from the victim.
    -Officer Cuney contacted VP Carlin, immediately, in morning, when she arrived at school approximately
    0930 hours to notify him about the incident. VP Carlin is already aware of the offense because he was
    notified by victim and mother (on 05/15/2017). VP Carlin had started his own investigation and had a
    written statement he obtained fromind a witness,
    -ofc. Cuney advised VP Carlin to so',%estigation.
    -VP Carlin advised he was not done with the investigation and was concerned with pursuing school
    consequences for the suspects and needed to speak with them. Ofc. Cuney advised him this was now a
    police investigation and to stop speaking with the students involved; specifically, not to interview the
    suspects.
                        wit.
    -Ofc. Cuney speaks
    -Officer Cuney advised       ar in a safety plan needed to be in place. School plan was to have victim
    spend the last week of school in the counselor's office.

    At some point in timegng are interviewed by vP cartin, despite being told otherwise
    by Ofc. Cuney and are suspended for two days. (This is all unknown to law enforcement)

    05/18/2017:
    -The case is assigned to Det. Johnson due to the complexity and possibility of a felony level crime. A
    forensic interview is set up for 06/06/2017.
    -Investigation is ongoing throughout the summer (ie: witness interviews, Elitch's, cell phone download).
    -During the summer, Det. Johnson was notified b,@ r social media harassment. Det. Johnson
    photographed the social media from @hone and printed screen shots from online social media
    sites.

    July 6":
                                           the
    -Det. Johnson begins to piece together est{gation and begins to suspect the school knows more
    information about the offense, because @and'                w
                                                            ere suspended.




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    -Det. Johnson emailed Ofc. Cuney about obtaining the remainder of the school's investigation,
    specifically the suspects statements If there are any. We decide to wait until staff returns to school from
    summer break.

   Week of Aug 10" (when staff returns to school):
   6calls Det. Johnson to report (rs scheduled to be in classes with the suspects. Det. Johnson
   informs Ofc. Cuney. Ofc. Cuney addresses this issue/safety plan with the school.

   September 26th:
   -Det. Johnson emails Ofc. Cuney about the school's investigation/suspects statements.
   -Ofc. Cuney contacts VP Carlin who conducted the Investigation, and told her he doesn't feel he needs
   to share this information with police with concern for the student's privacy. VP Carlin and Ofc. Cuney
   discuss who the investigation belongs to and Ofc. Cuney clarifies that the discipline issue is his, but the
   criminal investigation and all evidence related Is a pollce issue. VP Carlin becomes argumentative about
   providing his investigation, stating he will call the district and Det. Johnson. He never provided the
   statements to Ofc. Cuney or contacted Det. Johnson.
   -Ofc. Cuney notifies Det. Johnson and Sgt. Wilkinson of the conflict with VP Carlin.

   September 27:
   -Det. Johnson notified police chain of command of the initial failure to report and obstruction with the
   investigation, who notified Jefferson County School Administration. Ultimately, the written statements
   from                                      are provided to WRPD by school administration.
   -Det. Johnson speaks tol        1bout her concerns with the school safety plan.@nd the school
   attempted to work out a safety plan for which ultimately resulted in her being removed from her
   honors science class, no music class, a#Jett6fg in the counselor's office with Mrs. McDonald for 2nd,
   3rd, and 4th period class, rather than having a classroom experience@expressed that she was not
   happy with this solution and didn't understand whad to make concessions; meanwhile, the
   boys did not.

   September 29:
   -Det. Johnson Interviews VP Carlin.

   October  4t:
   -et Johnson interviews.
   -Contacts Recreation Center staff.

   October  6:
   -Det. Johnson interviews

   October 11":
   -Det. Johnson files the case with Jefferson County DA.




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ReportTitle 18-8-104            OBSTRUCTION OF A POLICE OFFICER                      Report Date/Time 10/16/2017 2:32:10              PM
Occurred On or Between Date/Time      9/26/2017 11:00:00 AM             -
                                                                            ------------
                                                                                WHEAT RIDGE
                                                           Apt _               City                                         state CO
Name/Business

Case Clearance                                                      Case Clearance Date


Offense

Offense Code 18-8-104

CSA COMPLETED                                                            Offense Clearance   OPEN

Person

Person Type
voe   Toe taJ Fa w«a
aaoss%.                                                                                                    Apartment                       _
coy                                                                  zh shoo
oo sos « ea 9a%.a                                                   Driver License
                                                                                                         Height             Weight         _
Hair Color                             _ Eye Color           _                                          _ State                         _

Narrative/Summary

Narrative - IR    Text :
           On 092617, I received an email from Detective Johnson requesting that I obtain
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           051617, by an email I received from the initial reporting officer, I immediately
           contacted the school about the incident. I spoke with        who advised that
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 Reporting Officer     {CUN                                                                         Report Date   10 / 16 /20 1 7

 Supervisor Review       MSIV                                                                       Review Date 10/18/2017

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                                                                                         Case Number
                'Wheat Ridge Police
                 7500W. 2Z9th Ave.                                                        201710538
«         y                           WHEAT RIDGE POLICE DEPARTMENT
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               details of the crime. I then contacted Sgt. Wilkinson and explained the situation
               of the case. Sgt. Wilkinson advised that Detective Johnson would be taking the
               investigation.
               This incident occurred near the end of the school year. School was out on 052017
               and the incident was reported only a few days before that. I contacted school
               administration to verify that a safety plan had been put into place and I was
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                                                           issue but the criminal investigation
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               part of investigation. I told - that the statements were police evidence
               and ( needed to surrender them. @ continued to be argumentative stating that@@
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              detective is requesting them but I don't know.
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                                                                   ~   A
                                                                   has to give them to me. I
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                                                                  then stated that @ wanted the
                                                                 told(that     I would let
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              Sgt. Wilkinson of the situation at the beginning of my shift on 092717.
              Submitted by: K. Cuney 033




    Reporting Officer   {CUNF                                              Report Date 10/16/2017

    Supervisor Review   MSuSK                                              Review Date 10/18/2017

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